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AO 91 (Rev. ll/l l) Criminal Complainl

UNITED STATES DISTRICT COURT

for the

Southem District of Texas

 

 

United States of America )
v. )
Aiberw GUERRA JR ) Case No_
Raul Ricardo LOZANO )
Florentino SANCHEZ III )
El‘icka SANCHEZ-Guerra )
Sofia Loreli GUERRA )
~_Al ’
ején ant(s
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of June 25, 2018 in the county of Jim H°gg in the
Southem District of Texas , the defendant(s) violated:
Code Section Oj‘énse Description
8 USC 1324 a citizen of Mexico and five United States citizens, did unlawfully transport six

undocumented alien(s) within the Southem District of Texas knowing or in reckless
disregard of the fact that said alien(s) had come to, entered, or remained in the United
States in violation of law, and transported or moved said alien(s) within the United States
by means of motor vehicle or otherwise, in furtherance of such violation of law;

This criminal complaint is based on these facts:
Continued on Aff`ldavit

/ n
-Contmued on the attached sheet. /S/Jose Dominguez

 

Camplainant 's signature

Jose Dominguez ,Border Patrol Agent

 

Printed name and title

Swom to before me and signed in my presence.

Date: nine 28, 2018

 

Jua'ge 's signature

City and state; Laredo, Texas Diana Song Quiroga g U.S. Magistrate Judge

 

Printed name and title

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CONTINUATION OF CRIMINAL COMPLAINT

AFFIDAVIT

In support of Criminal Complaint

UNITED STATES OF AMERICA CRIMINAL C()MPLA]NT
V.
Alberto GUERRA JR, et al. Case Number:

On June 25, 2018, the Hebbronville Border Patrol Agents (BPA) were conducting highway interdiction operations on Farm to
Market (FM) 1017. BPAs were observing traffic at the intersection of FM 1017 and FM 2686. At approximately l 1:00 p.m., BPA
observed a silver Volkswagen Passat travel west bound on FM 2686 and pass his location. At approximately ll:08, BPA observed
the same silver Passat traveling back eastbound on FM 2686. BPA has observed this same tactic as it is utilized by illegal alien
smugglers to scout for law enforcement presence. BPA relayed this information to the other BPA members in the area. BPA then
observed the silver Passat tum north on to FM 1017 traveling at a low rate of speed well below the posted speed limit.

At approximately ll:10 p.m., BPA observed a white Chevrolet Equinox SUV travelling eastbound on FM 2686 and turn north onto
FM 1017. BPA believed this SUV could be involved in a smuggling scheme and associated to the silver Passat. BPA believed it
could be involved in a smuggling scheme because traveling east on FM 2686 from FM 649 takes approximately 25 more miles to
travel to Hebbronville, Texas than if they were to stay on FM 649 and not travel on FM 2686. This route is commonly utilized by
illegal alien smugglers in an attempt to drop off illegal aliens south of the Border Patrol Traftic Checkpoint on FM 1017. BPA
relayed this information to the other FIT members in the area.

BPA was located approximately five miles north of BPA on FM 1017. BPA observed the silver Passat pass his location still
traveling at a low rate of speed. Approximately three minutes later, BPA observed the white Equinox pass his location. BPA started
to follow the white Equinox. BPA initiated his emergency equipment and preformed an immigration inspection of the white
Equinox. BPA identified himself as a United States Border Patrol Agent and began to question the driver as to her country of
citizenship and immigration status. The vehicle was only occupied by the driver later identified as SANCHEZ-Guerra, Ericka.
SANCHEZ-Guerra stated that she was a Lawfully Admitted Permanent Resident. SANCHEZ-Guerra stated she was traveling to
Hebbronville, Texas to pick up her daughter.

While BPA was still on the vehicle stop, BPA relayed information to BPA that a Ford Raptor had turned north on FM 1017 and
stopped on the side of the road. Approximately l minute later, BPA observed a white Chevrolet Silverado and a maroon Chevrolet
Malibu traveling in tandem tum north on FM 1017. Once the Silverado and Malibu turned north on FM 1017, BPA observed the
Ford Raptor pull back onto FM 1017 and get in front of the Silverado and Malibu. BPA observed all three vehicle travel in tandem
northbound on FM 1017. BPA relayed this information to BPA.

BPA observed the Ford Raptor pass his location. When the Ford Raptor passed BPA, SANCHEZ-Guerra became very nervous and
started shaking while holder her cell phone. SANCHEZ-Guerra kept saying "Senor" and "Official" over and over in attempt to keep
BPA attention on her and not on the Ford Raptor. Aiier SANCHEZ-Guerra would say "Senor" or "Official", she did not say
anything after that and shejust kept shaking and acting very nervous. BPA then observed the white Silverado pass his location
followed by the Malibu. BPA believed all five vehicles could be involved in a smuggling scheme. BPA believed that SANCHEZ-
Guerra was acting as a scout for the other vehicles. BPA relayed this information to the other BPA. BPA then released SANCHEZ-
Guerra from the vehicle stop. BPA then began following the white Silverado and the Ford Raptor.

As BPA was following the white Silverado, BPA observed the white Equinox and maroon Malibu both make a U-tum and begin
travelling back south on FM 1017. BPA believed the Equinox and Malibu were attempting to leave the area because of the Border
Patrol presence. BPA relayed this information to the other BPA in the area.

As BPA was following the white Silverado, he observed the vehicle began to slow down and start swerving into the oncoming lane
of traffic. BPA initiated his emergency equipment to perform an immigration inspection of the white Silverado. The white
Silvcrado yielded and pulled to the side of FM 1017. BPA exited his vehicle and began walking towards the white Silverado. When
BPA approached the white Silverado, the truck accelerated and sped off. BPA relayed to the other BPAs in the area that the white

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Silverado failed to yield and sped off. BPA began to follow the white Silverado at a safe distance because it was swerving to both
sides of FM 1017 in an unsafe manner and traveling at a high rate of speed. BPA also advised that the Ford Raptor also accelerated
to high rate of speed in an attempt to avoid BPA as well.

BPA advised Laredo Sector radio that BPA had a failure to yield because BPA had very limited radio communications BPA
advised Laredo Sector Radio that both vehicles were failing to yield and traveling at a high rate of speed northbound on Fl\/I 1017
south of Agua Nueva, Texas. Supervisory Border Patrol Agent (SBPA) advised Laredo Sector Radio that he was monitoring the
radio traffic and the failure to yield.

BPA followed the Raptor and Silverado for approximately 6 miles north on FM 1017. The white Silverado then took a sharp right
hand turn and attempted to turn onto Agua Nueva Road. The Silverado was traveling to fast to make the turn and drove through a
fence and crashed into a tree. BPA advised that the Ford Raptor kept driving northbound. BPA relayed this information to BPA
who then relayed the information to Laredo Sector Radio.

BPA pulled up to the Silverado and observed eight subjects run away from the vehicle. BPA was able to quickly apprehend one
subject. BPA identified himself as a United States Border Patrol Agent and began to question the subject as to his citizenship and
immigration status. The subject later identified as OSEGUEDA-Valdiva, Femando freely admitted to being a national of Mexico
not in possession of any immigration documents that would allow him to be or remain in the United States legally. BPA checked
the truck and immediate area for any subjects that could have been injured during the crash. BPA did not locate any injured
subjects.

Records checks were run on the white Chevrolet Silverado and the checks revealed the vehicle was not stolen and was registered
SANCHEZ-Guerra, Ericka. SANCHEZ-Guerra was previously identified as driving the white Chevrolet Equinox that had turned
around and started driving back south bound.

BPAs arrived at BPA location and began to track the remaining subjects that absconded from the vehicle. BPAs were able to locate
four subjects attempting to conceal themselves in some brush. BPAs identified themselves as United States Border Patrol Agents
and began questioning the four subjects as to their citizenship and immigration status. The three females freely stated that each was
a national of El Salvador, Guatemala, and Mexico. The male subject stated that he was a national of Mexico. All four subjects also
freely stated that they were not in possession of any immigration' documents that would allow them to be or remain in the United
States legally. BPAs placed the four subjects under arrest and walked them back to BPA's location. BPA read the four subjects later
identified as LOPEZ-Jimenez, Leticia, MACHADO- Funes, Santos, PEREZ-Rivas, Heidy and SANCHEZ IlI, FLorentino their
Miranda rights in the Spanish language. All four subjects stated that they understood their rights and were willing to answer
questions without a lawyer present.

When BPA saw the male subject he instantly recognized him. BPA had previously encountered the male subject identified as
SANCHEZ, Florentino III. BPA presented SANCHEZ with this information and told him that he was a United States citizen and
not a citizen of Mexico. SANCHEZ ill admitted that he had lied about his nationality and that he was a United States citizen. BPA
then read SANCHEZ II[ his Miranda Rights. SANCHEZ III stated that he understood his rights and he was willing to answer
questions without a lawyer present. BPA questioned SANCHEZ Ill as to how many illegal aliens were in the Silverado. SANCHEZ
III stated that he was in the vehicle with seven illegal aliens and that everybody had ran away from the Silverado.

BPA observed the Ford Raptor travelling back south bound on FM 1017 approximately 10 minutes later. BPAs and SBPA were
waiting south of BPA location for all the vehicles that were suspected of scouting for the failed illegal alien smuggling load. BPA
observed the maroon Malibu and white Equinox travelling in tandem south bound on FM 1017. BPA initiated his emergency
equipment and both vehicles yielded on the side of FM 1017. BPA identified himself as a United States Border Patrol Agent. BPA
questioned the subject in the white Equinox identified as SANCHEZ-Guerra, Ericka as to why she had turned around and started
travelling back south when she had told BPA that she was going to Hebbronville, Texas to pick up her daughter SANCHEZ-
Guerra could not give the BPA a reason as to why she was traveling back south. BPA placed SANCHEZ-Guerra under arrest for
being a suspect scout since she was attempting to leave the area of the smuggling attempt and the load vehicle was registered to her.
BPA read SANCHEZ-Guerra her Miranda Rights. SANCHEZ-Guerra stated she understood her rights but was not willing to
answer questions without a lawyer present.

BPA approached the maroon Malibu and identified himself as a United States Border Patrol Agent and questioned the driver as to
his citizenship and immigration status. The driver later identified HERNANDEZ, Alejandro stated that he was a United States
citizen. BPA began to question HERNANDEZ as to why he was traveling northbound on FM 1017 and then turned around and
started traveling back southbound on FM 1017. HERNANDEZ stated that he was going back to Roma, Texas from working on an
oil pipeline sight. BPA told HERNANDEZ that he had observed HERNANDEZ drive west bound on FM 2686 and turn north on
FM 1017. BPA explained to HERNANDEZ that it was not possible for HERNANDEZ to be traveling that route to Roma, Texas if
he was returning home. HERNANDEZ stated that he "can travel where ever he wants" and could not give a clear story as to why he

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was on FM 1017 and why he had turned around when he saw a Border Patrol unit start following the white Chevrolet Silverado.
BPA explained to HERNANDEZ that he believed HERNANDEZ was serving as a scout for the failed illegal alien smuggling
attempt. BPA placed HERNANDEZ under arrest. BPA read HERNANDEZ his Miranda rights. HERNANDEZ stated he
understood his rights but was not willing to answer questions at the time without a lawyer present.

SBPA was waiting on FM 1017 south of BPA location and observed the Ford Raptor traveling back south bound on FM 1017.
SBPA initiated his emergency lights and sirens and performed and immigration inspection on the Ford Raptor since he was
involved with the failure to yield further north on FM 1017. The Raptor yielded and pulled to the side of FM 1017. SBPA
approached the vehicle and identified himself as a United States Border Patrol Agent and began to question the driver as to his
citizenship and immigration status. The driver later identified as GUERRA, Alberto Jr., stated that he was a United States citizen.
SBPA questioned GUERRA as to why he was now traveling back south on FM 1017. GUERRA stated that he was traveling back
to Roma, Texas from an oil drilling site. GUERRA could not give the location of the work site. SBPA explained to GUERRA that
he should not be traveling northbound on FM 1017 from FM 2686 if he was traveling to Roma, Texas. GUERRA could not explain
why he was traveling on FM 1017. SBPA then stated that the Ford Raptor was a very expensive vehicle and asked how much he
pays a month for the truck. GUERRA stated that he pays $1,300.00 a month for the vehicle. SBPA stated that is a lot of money to
pay each month for a truck. GUERRA forgot his previous statement of coming home from an oil drilling site where he works
because he then stated to the SBPA that it was tough to pay that much because he had been laid off from his job for a while. The
SBPA was now convinced that GUERRA was lying about driving horne from a work site because hejust stated that he had been
laid off for a while. SBPA believed GUERRA was acting as a scout for the failed illegal alien smuggling load further north on FM
1017 and placed GUERRA under arrest. SBPA read GUERRA his Miranda rights. GUERRA stated that he understood his rights
but was not willing to answer questions without a lawyer present.

BPA was located by the white Silverado that had crashed into the tree when he observed the silver Passat pass his location back
southbound. BPA advised BPAs that vehicle was a suspected scout for the failed alien smuggling load. BPA began to follow the
silver Passat and initiated his emergency equipment to stop the vehicle. The vehicle yielded on the side of FM 1017. BPA
approached the vehicle and identified himself as a United States Border Patrol Agent and began to question the two occupants as to
their citizenship and immigration status. Both subjects stated that they were United States citizens. BPA began to question the
occupants as to why they were now travelling back south. The driver later identified as LOZANO, Raul Ricardo stated that he had
picked up his girlfriend in Hebbronville, Texas and were travelling back to Roma, Texas. BPA had previously called the Border
Patrol Checkpoint located on FM 1017 located near Hebbronville, Texas and asked if the silver Passat had gone through the
checkpoint The agents at the checkpoint had advised the BPA that the silver Passat never made it to the checkpoint and had to
have turned around south of the checkpoint BPA presented LOZANO with the fact that he never went through the checkpoint and
that he was giving a fictitious story. BPA then had LOZANO exit the vehicle. BPA asked LOZANO again as to why he was
traveling northbound then southbound on FM 1017. LOZANO stated that he and his girlfriend identified as GUERRA, Sofia
Lore|i were acting as scouts for the failed alien smuggling attempt. BPA then read both subjects their Miranda Rights in the
English language Both subjects stated that they understood their rights and were willing to answer questions without a lawyer
present. BPA then placed both subjects under arrest.

While at the Hebbronville Border Patrol Station, a BPA read SANCHEZ-Guerra, Ericka her rights. At one point, SANCHEZ-
Guen‘a asked if a certain person was driving the load vehicle. SANCHEZ-Guerra then freely said that if the Border Patrol lets her
children, identified as Alberto Guerra Jr and Sofia Loreli Guerra go free, she would fully cooperate and give all the information that
Border Patrol asks for.

While searching the seized vehicles due to search incident to arrest, a two way radio was located in the white Silverado. Another
two way radio was located in the maroon Malibu, which served as the rear scout. SANCHEZ III stated that he was utilizing the
radio to communicate with the scouts in the area so they could advise him of any law enforcement presence in the area.

On 06/26/2018 at approximately 5:30 p.m., two subjects were apprehended on FM 1017 near the Alta Vista main ranch gate. Both
subjects later identified as, MORENO-Fuentes, Edgar and EUCEDA-EUCEDA, Oswal were attempting to give up. Both subjects,
through a later interview, freely admitted to being inside the white Chevrolet Silverado that had crashed into the tree.

The six principals in the case identified as Alberto GUERRA Jr, Alejandro HERNANDEZ, Raul Ricardo LOZANO, Sofia Loreli
GUERRA, Ericka SANCHEZ-Guerra, and Florentino SANCHEZ IIl will be held at the Webb County jail in Laredo, Texas. The
six principals will be charged with 8 USC 1324 Conspiracy and 8 USC 1324 'I`ransporting.

Alberto GUERRA Jr was presented his Waming as to Rights via Service Form 1-214. Subject stated he understood his rights and
acknowledged them by signing the fonn, witnessed by BPAs. Subject invoked his rights to have an attorney present during

questioning and declined to provide a sworn statement.

Ericka SANCHEZ-Guerra was presented his Waming as to Rights via Service Form 1-214. Subject stated she understood his rights

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and acknowledged them by signing the form, witnessed by BPAs. Subject invoked her rights to have an attorney present during
questioning and declined to provide a sworn statement.

Raul Ricardo LOZANO was presented his Waming as to Rights via Service Form 1-214. Subject stated he understood his rights
and acknowledged them by signing the form, witnessed by BPAs. Subject invoked his rights to have an attorney present during
questioning and declined to provide a sworn statement.

Florentino SANCHEZ III was presented his Waming as to Rights via Service Form I-214. SANCHEZ stated he understood his
rights and acknowledged them by signing the form, witnessed by BPAs. SANCHEZ waived his rights to have an attorney present
during questioning and willfully agreed to provide a sworn statement. SANCHEZ stated he got in possession of a white Chevrolet
Silverado by a man named Mark. Mark picked him up at his house and took him to a house with illegal aliens when the Silverado
arrived, driven by a man named Georgon. Georgon then got into the passenger seat of the truck and SANCHEZ walked inside the
house. He began to walk illegal aliens out to the truck, two at a time. Once he would walk them out, Georgon would tell the illegal
aliens where to sit in the truck. Once all six illegal aliens from the house were in the truck, SANCHEZ got in the driver‘s seat and
drove away. SANCHEZ stated that he would communicate with Mark and other people via radio to make sure there were no law
enforcement agencies on the highways. SANCHEZ further stated that U.S. Border Patrol attempted a traffic stop on him in the
truck but the people on the radio told him to getaway. After approximately 3 miles, SANCHEZ lost control of the truck and crashed
into a tree. SANCHEZ identified Mark as Alejandro Hemandez, via a six pack photo lineup. SANCHEZ was going to get paid
$l,000 USD by Mark to transport the illegal aliens and pick them up after they circumvented the U.S. Border Patrol checkpoint
near SH 285.

Alejandro Hemandez was presented his Waming as to Rights 'via Service Form 1-214. Subject stated he understood his rights and
acknowledged them by signing the form, witnessed by BPA Chavez and

Quintanilla. Subject waived his rights to have an attorney present during questioning and agreed to provide a voluntary statement.
Subject stated that Beto hired him to be a lookout for an illegal alien smuggling attempt. Beto called him on June 25, 2018, at
approximately 1 1:00 a.m. and asked him if he wanted to be a lookout for $300 USD. Beto then called him at 12:00 p.m. and they
met up at the Family Center plaza in Roma, TX. Beto then gave him a high frequency radio to be used during the illegal alien
smuggling attempt. At approximately 8:30 p.m., Beto called him and told him to wait for him on SH 83 near a Pizza Hut, in Roma,
TX. He told him to wait for him (red Ford Raptor) and a white Chevrolet truck to pass his location and then to follow them. They
traveled for about an hour and communicated over radio if there were any law enforcement units on the hi ghway. He then heard
over the radio that the Chevrolet truck was getting pulled over and he turned back around. Subject was then pulled over by U.S.
Border Patrol. Subject identified Beto as Alberto Guerra, Jr. via a six pack photo lineup.

Sofia Loreli Guerra was presented her Waming as to Rights via Service Form 1-214. Subject stated she understood her rights and
acknowledged them by signing the form, witnessed by BPA Hemandez and Garcia. Subject waived her rights to have an attorney
present during questioning and agreed to provide a voluntary statement. Subject stated that she and her boyfriend, Raul Ricardo
Lozano, were doing a favor for her brother, Alberto Guerra, Jr., by looking out for law enforcement on the highway. Her mother,
Ericka Sanchez-Guerra, her brother Alberto Guerra Jr., boyii'iend Raul Ricardo Lozano, and she, did not want for the white
Chevrolet Silverado to get pulled over by law enforcement She suspected the Chevrolet Silverado had something illegal in it but
did not know who or what was in it. Sofia Loreli Guerra further stated that she and her boyfriend Raul Ricardo Lozano were pulled
over by U.S. Border Patrol after the Silverado got into an accident. Sofia Loreli Guerra acknowledged the Silverado is in fact
registered and belongs to her mother.

MORENO-Fuentes, Edgar Javier and Perez-Rivas, Heidy Rivas will be utilized as material witnesses. The remaining four illegal
aliens will be processed accordingly.

Edgar Javier Moreno-Fuentes was asked if he would willingly provide a voluntary statement and he stated yes. He stated that he
crossed the Rio Grande River illegally on June 23, 2018, at approximately 1 p.m., near Reynosa, Tamaulipas, Mexico. l-lis brother
made arrangements for him to get smuggled into the United States for a fee of $7,500 USD. Once he crossed into the United States,
he hid in the brush for approximately two days until a female in a white sedan picked him up. The unknown female then dropped
him off at an unknown house at an unknown location. Once it got dark, a white truck (Chevrolet Silverado) arrived to the house. A
man walked into the house and told him to sit down on the floor board of the back area of the truck. The man then got into the
driver‘s seat and left the house. They traveled for approximately 30 minutes until the truck accelerated in speed and crashed into a
tree. The driver never offered him to wear a seatbelt due to other illegal aliens sitting on the backseats. The subject was ultimately
apprehended by U.S. Border Patrol. Subject identified the driver of the truck as Florentino Sanchez III via six pack photo lineup.

Heidy Yaritza Perez-Rivas was asked if she would willingly provide a voluntary statement and stated yes. She stated she made
arrangements with a man known as Guillermo to be smuggled into the United States illegally. Guillermo charged her $5, 100 USD.
She paid $1,800 USD and was going to pay the remaining balance once arriving in Houston, TX. She crossed the Rio Grande River

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~ illegally on June 25, 2018, at approximately 4 p.m., near Miguel Aleman, Tamaulipas, Mexico. Once she crossed, a blue sedan
picked her up and took her to a white house at an unknown location. At approximately 9 p.m., a white truck (Chevrolet Silverado)
arrived at the house. A man walked into the house and began to walk illegal aliens,
in pairs, to the truck, so it would not look suspicious. The man told her to sit on the floor board of the back area of the truck. Once
all the illegal aliens were in the truck, the man got into the driver‘s seat and drove away. They traveled for approximately 30
minutes when she heard the driver telling someone over a radio that they were getting pulled over. She then heard a male voice
over radio telling the driver to getaway. The driver told someone over the radio that he was going to drive into the brush and
ultimately crashed into a tree. Subject was then apprehended by U.S. Border Patrol. Subject identified the driver as Florentino
Sanchez III via six pack photo lineup.

 

SUBSCRIBED and SWORN to before me this day of

 

 

Signature of Judicial (Yficer Signature of Complaint

